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 5

 6   Attorney for Defendant,
     SALVADOR RAYMOND DELEON RODRIGUEZ
 7

 8
                      IN THE UNITED STATES DISTRICT COURT
 9
                    EASTERN DISTRICT OF CALIFORNIA, FRESNO
10

11   UNITED STATES OF AMERICA,            ) Case No.: 1:13-CR-00085 LJO
                                          )
12               Plaintiff,               )
                                          )
13        vs.                             ) STIPULATION AND AMENDED
                                          ) ORDER TO CONTINUE SENTENCING
14                                        )
     SALVADOR RAYMOND DELEON              )
15                                        )
     RODRIGUEZ,                           ) Date: March 31, 2014
16                                        )
                                          ) Time: 8:30 a.m.
17               Defendant.               ) Hon. Lawrence J. O’Neill
18
          Defendant,      SALVADOR    RAYMOND     DELEON    RODRIGUEZ,      by   and
19
     through his attorney of record, Anthony P. Capozzi and the
20
     United States Attorney by and through Kimberly A. Sanchez,
21
     hereby stipulate as follows:
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          1. By previous order, this matter was set for sentencing
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     on March 31, 2014, at 8:30 a.m.
24
          2. The parties agree and stipulate that Defendant requests
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     this court to continue the sentencing until May 5, 2014, at
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     8:30 a.m.
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                                           - 1 -
                  Stipulation and [Proposed] Order to Continue Sentencing
                                Case No.: 1:13-CR-00085 LJO
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 1        3. Additionally, the parties agree and stipulate, and

 2   request that the Court find the following:

 3              a. The Defendant pled guilty on December 23, 2013.

 4        Ongoing negotiations have been taking place between the

 5        Government and the Defendant. The parties anticipate that

 6        by May 5, 2014, the required investigations and discovery

 7        will be completed.

 8              b. The parties request that Informal Objections be

 9        filed on April 7, 2014, and Formal Objections be filed on

10        April 21, 2014.

11              c. The Government does not object to the continuances

12        requested herein.

13

14                                           Respectfully submitted,

15   DATED: March 27, 2014                   /s/Kimberly A. Sanchez
                                             KIMBERLY A. SANCHEZ
16                                           Attorney for United States
17

18

19   DATED: March 27, 2014                   /s/Anthony P. Capozzi
20                                           ANTHONY P. CAPOZZI
                                             Attorney for Defendant
21                                           SALVADOR RAYMOND DELEON
22
                                             RODRIGUEZ

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                 Stipulation and [Proposed] Order to Continue Sentencing
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 1                                       ORDER

 2        For reasons set forth above, the continuance requested by

 3   the parties is granted for good cause.

 4        The sentencing currently scheduled for March 31, 2014, at

 5   8:30 a.m. is continued to May 5, 2014, at 8:30 a.m..                  There

 6   will be no informal objections, since the PSR has already

 7   been prepared, and to now allow Informal objections puts

 8   undue burden on Probation to have to redo the report.                  The

 9   Formal Objections are due on April 21, 2014.

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     IT IS SO ORDERED.
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12     Dated:   March 27, 2014                 /s/ Lawrence J. O’Neill
                                           UNITED STATES DISTRICT JUDGE
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                                          - 3 -
                 Stipulation and [Proposed] Order to Continue Sentencing
                               Case No.: 1:13-CR-00085 LJO
